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 5
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 6 United States of America

 7                                 IN THE UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                            CASE NO. 1:03-CR-5453 LJO
10                                   Plaintiff,           STIPULATION REFERRING MOTION FOR
                                                          SENTENCE REDUCTION TO FEDERAL
11                           v.                           DEFENDER’S OFFICE AND PROBATION
                                                          OFFICE AND ORDER THEREON
12   EDISON SHINO,
13                                   Defendant.
14

15
            The Court is in receipt of a motion to reduce a criminal sentence pursuant to Title 18, United
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     States Code, Section 3582(c)(2). The Court refers this motion to the Probation Office (Probation
17
     Officers Hubert Alvarez and/or Melinda Peyret) and the Office of the Federal Defender and Assistant
18
     Federal Defender David M. Porter, pursuant to General Order No. 546. The Federal Defender’s Office
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     shall have 30 days from the date the Court approves the stipulation/order to conduct an initial review of
20
     the motion to determine the status of representation of the defendant.
21
            1.       If Federal Defender’s Office determines that the defendant is eligible for representation
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     and agrees to represent the defendant, a representative of the Federal Defender’s Office shall file a
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     notice of appearance in the case. If the matter has been referred to panel counsel, a copy of this order
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     shall be forwarded by the Federal Defender’s Office to appointed panel counsel who shall then file a
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     notice of appearance in the case.
26
            2.       The notice of appearance shall indicate whether counsel intends to supplement the
27
     defendant’s motion.
28

      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
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 1          3.       If the defendant does not intend to supplement the motion, the government’s response

 2 will be due 14 days following counsel’s notice of appearance.

 3          4.       If defendant’s counsel intends to supplement the defendant’s motion, then the notice of

 4 appearance shall indicate the date upon which the supplement will be filed and the date upon which the

 5 government’s response shall be due. Such dates should be mutually agreeable to the parties.

 6          5.       If the parties agree that a hearing is necessary, the notice of appearance shall include the

 7 date of the hearing, preferably no earlier than two weeks after the government’s response is filed. If the

 8 parties are not in agreement that a hearing is necessary, that issue should be addressed in the parties’

 9 respective filings.

10          6.       Upon review of the motion and response, the Court will determine whether oral argument

11 or hearing will aid its determination of the motion and notify counsel of its decision.

12 Dated: November 12, 2014                                  BENJAMIN B. WAGNER
                                                             United States Attorney
13
                                                             /s/ Kathleen A. Servatius
14                                                           KATHLEEN A. SERVATIUS
                                                             Assistant United States Attorney
15

16 Dated: November 12, 2014                                  HEATHER E. WILLIAMS
                                                             Federal Defender
17
                                                             /s/ David M. Porter
18                                                           DAVID M. PORTER
                                                             Assistant Federal Defender
19                                                           Attorney for Defendant
20                                                      ORDER
21          The above stipulation is approved. In addition, if no defense counsel makes an appearance within
22
     the 30-day period set forth in the introductory paragraph of this stipulation, the government shall file an
23
     opposition within 14 days of the expiration of such period.
24
     IT IS SO ORDERED.
25

26      Dated:      November 13, 2014                         /s/ Lawrence J. O’Neill
                                                         UNITED STATES DISTRICT JUDGE
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      STIPULATION/ORDER REFERRING MOTION FOR SENTENCE
      REDUCTION
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